            Case 2:10-cv-02171-FJM Document 1 Filed 10/11/10 Page 1 of 4




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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA
                                    PHOENIX DIVISION

Gerahme Wilson                                      Case No.:
6112 N. 67th Ave., #260
Glendale, AZ 85301                                  Judge:

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Interstate Check Systems, Inc. d/b/a ICS
c/o Speigel & Utrera, PA PC
1 Maiden Lane, 5th Floor                             JURY DEMAND ENDORSED HEREIN
New York, NY 10038

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.




                                                     1
           Case 2:10-cv-02171-FJM Document 1 Filed 10/11/10 Page 2 of 4




5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around July 16, 2010, Defendant telephoned Plaintiff and left a voice message.

8. During this communication, Defendant falsely represented that there were allegations of

   identity theft and check fraud against Plaintiff.

9. During this communication, Defendant threatened to prosecute Plaintiff to the fullest extent

   of the law if Plaintiff did not contact Defendant.

10. On or around July 16, 2010, Plaintiff telephoned Defendant.

11. During this communication, Defendant failed to identify itself as a debt collector.

12. During this communication, Defendant falsely represented itself as a senior auditor.

13. During this communication, Defendant falsely identified itself as a law firm.

14. During this communication, Defendant threatened to serve Plaintiff the following day if the

   debt was not paid.

15. At the time of these communications, Defendant had neither the intent nor ability to

   prosecute Plaintiff.

16. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

17. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.




                                                  2
           Case 2:10-cv-02171-FJM Document 1 Filed 10/11/10 Page 3 of 4




                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

    taken and/or that was not intended to be taken.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

    communications with Plaintiff.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

26. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.




                                                  3
Case 2:10-cv-02171-FJM Document 1 Filed 10/11/10 Page 4 of 4




b. For such other legal and/or equitable relief as the Court deems appropriate.



                                 RESPECTFULLY SUBMITTED,

                                 Macey & Aleman, P.C.

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                                     4
